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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,
                                              Case No. 15-20283
 vs.                                          HON. GEORGE CARAM STEEH

 SVETLANA SRIBNA, et al.,

               Defendants.
 ___________________________________/

   ORDER DENYING DEFENDANT’S MOTION FOR DISCLOSURE AND
    PRODUCTON OF CO-DEFENDANTS’ STATEMENTS (DOC. 151)
       This matter is presently before the Court on defendant Svetlana

 Sribna’s Motion for Disclosure and Production of Co-defendants’

 Statements that the Government Will Present During Trial. (Doc. 151).

 The Motion is joined by defendants Jennifer Franklin, Rodney Knight, Tara

 Jackson, Sashanti Morris, Anna Fradlis, and Maryna Pitsenko. Sribna

 requests that the Court require the Government to disclose statements of

 her co-defendants’ that may be used against her at trial. The Government

 responds that it recently finished disclosing “all statements of all defendants

 that were the result of Government interrogation that might be admissible

 against the defendant making the statement.” (Doc. 186 at PageID 782).

 Sribna did not file a reply brief to contest this assertion. As a result,


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 Sribna’s request is MOOT and, therefore, her motion is DENIED. This

 Order, however, makes no ruling concerning the Government’s use of

 these statements at trial. Both parties agree that these statements may

 present a problem under Bruton v. United States, 391 U.S. 123 (1968). If

 necessary, defendants may challenge the Government’s use of these

 statements in a further motion or objection.

      IT IS SO ORDERED.

 Dated: July 31, 2017

                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE


                                CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                      July 31, 2017, by electronic and/or ordinary mail.

                                    s/Marcia Beauchemin
                                        Deputy Clerk




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